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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
         Plaintiff,                              §
VS.                                              §   CRIMINAL ACTION NO. C-05-00542-2
                                                 §
MONICA COLEMAN,                                  §
                                                 §
         Defendant.                              §


                                              ORDER

        On this day came on to be considered the Defendant Monica Coleman's Motion to

Reinstate Conditions of Pretrial Release. Due to Defendant Monica Coleman's diminished

capacity and health problems, the Court grants Defendant Monica Coleman's Motion to

Reinstate Conditions of Pretrial Release.

        Accordingly, the Court hereby ORDERS that Defendant Monica Coleman's original

conditions of pretrial release are hereby reinstated effective at 9:00 a.m. on Friday, April 7,

2006, with the following added conditions:

        1) Curfew restriction from 9:00 p.m. to 6:00 a.m.

        2) Defendant shall not have any contact with any co-defendants or co-defendants'

family members.

        Upon release, Defendant Monica Coleman shall observe all conditions of pretrial release

originally imposed upon her as well as those added conditions set out in this order. The U.S.

Marshal shall release Defendant Monica Coleman from custody upon being presented with an




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executed copy of this Order.

        SIGNED this 6th day of April, 2006.




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